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JUL 26 2016 W Ne

UNITED STATES DISTRICT COURT — THOMAS G.BRUTON
NORTHERN DISTRICT OF ILLINOIS CLERK, U.S. DISTRICT COURT
EASTERN DIVISION

UNITED STATES OF AMERICA
Violations: Title 18, United States
V. Code, Sections 1343 and 1589

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)
)
TRACIE DICKEY, also known as 1 6 C R 4 m5
)

Tracie Williams
JUDGE THARP

ATE JUDGE FINNEGAN

The SPECIAL JUNE 2015 GRAND JURY charges:

Li At times material to this indictment:

a. Hotel chains maintained arrangements with travel agents
whereby the hotel chains paid a commission fee if a travel agent arranged for an
individual to stay at one of the chain’s hotels.

b. For example, Hyatt Hotels Corporation, which was
headquartered in Chicago, Illinois, paid commissions to travel agents who booked
stays for customers at their various hotels. Hyatt maintained an electronic database
that was accessible from its headquarters in Chicago, Illinois, in which it
electronically stored information pertaining to commissions requested for travel
agents.

C. Employees working at Hyatt had access to its travel agent
commission database. When a travel agent booked a stay at a Hyatt hotel, the

employee entered the travel agent’s identifier into the database along with the
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reservation. That information was then submitted to Hyatt headquarters, where it
was reviewed and approved. Once a request for commission payment was approved,
a wire signal was sent from the database system authorizing payment to the travel
agent or agency for the particular reservation. Payment was then electronically
transferred to the bank account associated with the travel agent or agency in the
database.

d. Defendant purported to operate a travel agency, known as
World Ambassador Travel. Commission fees for hotel reservations purportedly
booked by World Ambassador Travel were paid by hotels to a bank account
maintained by defendant in the name of World Ambassador Travel at Wells Fargo.
In some instances, those commission fees were processed through a third-party
travel agency, Thomas Hogan, before being paid to defendant through the World
Ambassador Travel account at Wells Fargo.

e. Defendant was also the self-appointed “Bishop” of Deliverance
Tabernacle Ministries, an organization which she proclaimed offered faith-based
service to members in locations such as Pittsburgh, Pennsylvania, and Orlando,
Florida. Defendant recruited and caused others to recruit individuals to join
Deliverance Tabernacle Ministries, and controlled its finances. For example,

defendant was the sole signatory for the organization’s bank accounts.
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Z. Beginning no later than in or around 2005, and through in or about
February 2013, at Chicago, in the Northern District of Illinois, Eastern Division,

and elsewhere,

TRACIE DICKEY, also known as
Tracie Williams,

defendant herein, knowingly devised, intended to devise, and participated in a
scheme to defraud, and to obtain money and other property by means of materially
false and fraudulent pretenses, representations, and promises, as further described
below.

3. It was part of the scheme that defendant recruited young women to
become members of the Deliverance Tabernacle Ministries, directed members to
obtain employment at hotels, fraudulently directed them to cause the hotels to pay
reservation commissions to World Ambassador Travel which it had not earned, and
directed the members to remit their own wages to bank accounts which she
controlled.

4, It was further part of the scheme that after defendant recruited
individuals to join Deliverance Tabernacle Ministries, she required that they follow
guidelines and rules that she established, including that the members live together
and cut off ties with their family members.

5. It was further part of the scheme that defendant required Deliverance
Tabernacle Ministries members to work multiple jobs and required members to
remit or “tithe” all or almost all of their earnings to Deliverance Tabernacle

Ministries.
 

 

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6. It was further part of the scheme that defendant emotionally and
physically abused the members of Deliverance Tabernacle Ministries in order to
coerce them to follow its rules and her orders, and to remit their earnings.
Defendant’s tactics included the following:

a. informing the members that God would strike them down if they
did not tithe their earnings to Deliverance Tabernacle Ministries and threatening
members that God would harm their family members;

b. physically abusing the members, including by punching, kicking,
and pulling their hair;

é. kicking the members out of their residence and forcing them to
live on the streets;

d. starving the members; and

e. publicly shaming and humiliating the members for failing to
abide by the Deliverance Tabernacle Ministries’s rules and guidelines.

7. It was further part of the scheme that, beginning in approximately
2005, defendant required certain Deliverance Tabernacle Ministries members,
namely, Victims A, B, C and D, to obtain employment at large hotel chains as front
desk clerks.

8. It was further part of the scheme that defendant instructed Victims A,
B, C and D to fraudulently cause the hotel chains to pay commissions to World
Ambassador Travel for reservations at the hotel chains that were not booked by

defendant or World Ambassador Travel.
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9. It was further part of the scheme that defendant directed Victim B to
maintain a spreadsheet which compiled the number and amount of fraudulent
commission fees that Victims A, B, C and D caused the hotel chains to pay to bank
accounts controlled by defendant.

10. It was further part of the scheme that defendant fraudulently obtained
approximately $130,000 from hotel chains by requiring Victims A, B, C and D to
credit World Ambassador Travel with reservation commissions that were not
actually earned by defendant or World Ambassador Travel.

11. It was further part of the scheme that defendant directed Victims A, B,
C and D to have their hotel wages directly deposited into either defendant’s
personal bank account or one of the Deliverance Tabernacle Ministries bank
accounts, which defendant controlled.

12. It was further part of the scheme that defendant fraudulently obtained
approximately $280,000 in wages earned by Victims A, B, C and D that were
directly deposited into accounts controlled by defendant.

13. It was further part of the scheme that defendant concealed,
misrepresented, and hid, and caused to be concealed, misrepresented, and hidden,
the existence of the scheme, the purposes of the scheme, and the acts done in

furtherance of the scheme.
 

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14. On or about January 11, 2013, at Chicago, in the Northern District of
Illinois, Eastern Division, and elsewhere,

TRACIE DICKEY, also known as
Tracie Williams,

defendant herein, for the purpose of executing the above-described scheme,
knowingly caused to be transmitted by means of a wire communication in interstate
commerce, certain signs, sounds and signals, namely, a wire transmitted from a
server in Chicago, Illinois, to a server located in Herndon, Virginia, resulting in the
deposit of $4,124.69, into a Wells Fargo Bank account;

In violation of Title 18, United States Code, Section 1343.

 
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COUNT TWO

The SPECIAL JUNE 2015 GRAND JURY further charges:

1. The allegations in paragraphs 1 through 13 of Count 1 are
incorporated here.

2. On or about January 18, 2013, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

TRACIE DICKEY, also known as
Tracie Williams,

defendant herein, for the purpose of executing the above-described scheme,
knowingly caused to be transmitted by means of a wire communication in interstate
commerce, certain signs, sounds and signals, namely, a wire transmitted from a
server in Chicago, Illinois, to a server located in Herndon, Virginia, resulting in the
deposit of $1,179.31, into a Wells Fargo Bank account;

In violation of Title 18, United States Code, Section 1343.

 
 

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COUNT THREE
The SPECIAL JUNE 2015 GRAND JURY further charges:

1. The allegations in paragraphs 1 through 13 of Count 1 are
incorporated here.

2. On or about February 8, 2013, at Chicago, in the Northern District of
Illinois, Eastern Division, and elsewhere,

TRACIE DICKEY, also known as
Tracie Williams,

defendant herein, for the purpose of executing the above-described scheme,
knowingly caused to be transmitted by means of a wire communication in interstate
commerce, certain signs, sounds and signals, namely, a wire transmitted from a
server in Chicago, Illinois, to a server located in Herndon, Virginia, resulting in the
deposit of $2,503.11, into a Wells Fargo Bank account;

In violation of Title 18, United States Code, Section 1343.
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COUNT FOUR

The SPECIAL JUNE 2015 GRAND JURY further charges:

Between in or around 2005, and continuing until in or around July 2008, at
Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

TRACIE DICKEY, also known as
Tracie Williams,

defendant herein, did knowingly provide and obtain the labor and services of Victim
B, by means of: (a) threats of serious harm, and threats of physical restraint; (b) a
scheme, plan, and pattern intended to cause Victim B to believe that, if Victim B did
not perform such labor and services, that Victim B would suffer serious harm and
physical restraint; and (c) abuse and threatened abuse of the law and legal process;

In violation of Title 18, United States Code, Section 1589.
 

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FORFEITURE ALLEGATION

 

The SPECIAL JUNE 2015 GRAND JURY alleges:

1. The allegations of Counts One through Four of this Indictment are
incorporated here for the purpose of alleging forfeiture pursuant to Title 18, United
States Code, Section 982(a)(2).

2. As a result of her violations of Title 18, United States Code, Sections
1343 and 1589, as alleged in Counts One through Four of the foregoing Indictment,

TRACIE DICKEY, also known as
Tracie Williams,

defendant herein, shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 982(a)(2), any and all right, title and interest she may have in
any property, real and personal, which constitutes and is derived from proceeds
traceable to the charged offenses.

3. The interest of the defendants subject to forfeiture as the result of
their violations of Title 18, United States Code, Sections 1343 and 1589 includes,
but is not limited to, approximately $410,000.

4. If any of the property described above, as a result of any act or

omission of the defendant:
 

 

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a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third
person;

G. Has been placed beyond the jurisdiction of the Court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property which cannot be

divided without difficulty,

it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c) to

forfeitable property.

seek forfeiture of any other property of the defendants up to the value of the
All pursuant to Title 18, United States Code, Section 982(a)(2).

A TRUE BILL

 

FOREPERSON

 

UNITED STATES ATTORNEY
